     Case 3:16-cr-02521-BEN      Document 36   Filed 02/28/17      PageID.177       Page 1 of 1




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                                                                   CLERKJ^-fiiSTRICT COURT
 3                                                              SOUTH£Rjf®?TB?CT OF CALIFORNIA
                                                                BY                      DEPUTY
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 7                              UNITED STATES DISTRICT COURT
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                           SOUTHERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                                  Case No. 16-CR-2521-BEN
11
                                                                ORDER GRANTING
12                 Plaintiff,                                   MOTION TO DISMISS
                                                                WITHOUT PREJUDICE AND
13         v.                                                   JUDGMENT OF DISMISSAL
14   JOSEFINA HERNANDEZ-BRAVO, (2)
15                                                      )
                                                        )
16                 Defendant
17
18        IS HEREBY ORDERED that the United States’ Motion to Dismiss the charges under
19 the above-referenced case number against JOSEFINA HERNANDEZ-BRAVO, be granted.
20 The dismissal shall be without prejudice.
21        SO ORDERED.
22        DATED: February,            2017
23
                                                HON              . BENITEZ —^
24
                                                United States District Court Judge
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